         Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                            )
                                                     )
                                                     )
               - against -                           )       Case No.: 23-cr-00163-CKK-1
                                                     )
JON LIZAK,                                           )
                                                     )
                              Defendant.             )

               DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

I.     INTRODUCTION

       Jon Lizak, through undersigned counsel, respectfully submits this Memorandum in Aid of

Sentencing. This Court is well-familiar with the facts and circumstances of this case having,

among other things, presided over the sentencings of related defendants, Gabriel Chase; Thomas

Carey, and Paul Lovley. Like the others, Lizak plead guilty to a one count Information charging

the class B misdemeanor of Parading, Demonstrating or Picketing in a Capitol Building, in

violation of 40 U.S.C. §5104 (e)(2)(G).        Of course, this matter represented Lizak’s first

involvement in the criminal justice system as he is, otherwise, an extraordinary young man whose

young life has been characterized by hard work, academic achievement, and devotion to his

mother. As set forth below, these events also resulted in a 180˚ reset of Lizak’s young life. At 22,

he is now engaged to be married, actively engaged as a volunteer firefighter, and is utilizing his

Business Management degree in his new career path operating and directing the two Long Island

businesses which have been owned by his mother for many years.

       Lizak was a 19 year old college student when he entered the Capitol Building as a non-

violent demonstrator on January 6th. As simply and eloquently noted by Lizak in his attached letter

(Exhibit A), “I was wrong.” The consequences have been, and will remain, life altering, and he
         Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 2 of 10




has fully accepted responsibility. For all these reasons, as more detailed below, joined by the

Probation Department, it is respectfully submitted that a probationary sentence is appropriate.

II.    JON LIZAK’S, OTHERWISE, COMMENDABLE LIFE’S HISTORY

       As noted, Lizak is 22 years old, and was a 19 year old college student on January 6th. He

was born and raised on Long Island, New York, the middle child of his parents marital union. His

older sister is 25 and is attending college in pursuit of a graduate degree to become a Physician’s

Assistant, and his younger brother is 18 and is a college freshman.

       Lizak’s grammar school years were rather typical, but when he was ten, his parents

suddenly divorced at which time his father relocated to Riverhead, New York, approximately 40

miles from the family home. As set forth in the PSR, Lizak’s father thereafter began a relationship

with another, which severely limited the amount of time Lizak spent with his dad, with whom he

had shared a close father-son relationship. Notably, this led to a years long period of estrangement

during which Lizak was without a father figure.

       Lizak attended Cold Spring Harbor High School, and immersed himself in activities and

sports. He played football, wrestling and track. He was also a member of the debate team’s Honor

Society, and also participated in theatre. Never a partier, or part of the high school social scene,

the last time Lizak tried alcohol was when he was 16 years old. He graduated as an above-average

student, with no disciplinary history.

       In September 2019, Lizak enrolled at Binghamton University in upstate New York as a

Business Management major. Commendably, Lizak completed the four year Bachelor of Arts

program in three years, graduating in May, 2022. At college, Lizak was an active participant in

the college Republican Club, and a writer for the school newspaper. Once again, Lizak graduated

with above-average grades and without any disciplinary history.



                                                  2
         Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 3 of 10




        Upon graduating, Lizak moved back home to his family’s Long Island home. In 2021,

Lizak joined the Cold Spring Harbor Volunteer Fire Department. He remains an active participant

in this organization and has obtained his Firefighter 1 Certification, rendering him a full interior

firefighter who can enter burning buildings. He responds to both medical and fire first responder

calls. Lizak’s first full-time employment after college was working as a legislative aide for a New

York State Representative. The employment was brief as Lizak was placed on leave when the

instant charges were filed in September 2022. Soon thereafter, his life and career path turned in a

different direction.

        For more than 20 years, Lizak’s mother has owned and operated a child daycare facility on

Long Island. The original facility opened twenty years ago and a second facility recently opened.

In September, 2022, Lizak decided to commit himself to working with his mother in the operation

of the facilities. He has become the Assistant Director, and has utilized his Business Management

degree in helping to streamline the business and increase their profitability. In two months, Lizak

will earn his Child Development Associate Degree, which will allow him to take on additional

roles, such as Childcare Director.

        Finally, as set forth in the PSR, Lizak is engaged, and will be married in November 2023.

He has been in a relationship with his fiancé for nearly three years and she, too, is now employed

in the family business. Lizak and his wife plan on residing in Huntington on Long Island.

        As can be seen, Lizak’s brief life’s history has indeed been characterized by hard work,

law abiding conduct and admirable behavior. Nearly three years removed from the unplanned

events of January 6th when he was 19 years old, there is every reason to expect that Lizak’s life’s

path will continue to be virtuous.




                                                 3
            Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 4 of 10




III.   18 U.S.C. §3553(A) FACTORS

       A.       The Nature and Circumstances of the Offense

       The general events of January 6th are familiar to the Court and require no further

elaboration. Lizak’s conduct that day is also familiar to the Court, as it was the same as that

engaged in by his three friends who have already been sentenced—Gabriel Chase; Thomas Carey,

and Paul Lovely. Like them, Lizak was certainly not an organizer or leader of the conduct, in fact,

at the time he was a 19 year old college student. Lizak arrived in Washington DC on the morning

of January 6th expecting a peaceful, lawful, non-violent protest. Ultimately, Lizak and has friends

wrongfully entered the Capitol through an open door. It is undisputed that Lizak did not push or

disparage any member of law enforcement, nor did he engage in any acts of violence. Once inside,

he walked through the Capitol Building, and did not engage in the destruction or damage to any

property.

       B.       Mr. Lizak’s History and Characteristics

       Lizak’s personal history is set forth in section II above. Enclosed are several letters which

amplify and further detail his life’s history, commendable past, and promising future.

       Jon Lizak offers an unvarnished, reflective and mature view of the events of that day, and

his thoughts on his present priorities in life which have pivoted significantly since he was 19 years

old (Exhibit A). It is respectfully submitted that Lizak’s reflective testament is deserving of this

Court’s strongest consideration.

       Lizak begins by maturely and simply stating, “I was wrong.” He then describes his journey

which lead to his presence in Washington on January 6th. Always having a laudable interest in

politics and public policy, Lizak notes that his personal inner anxiety over not “fitting in” as a

typical “partying” college kid lead him to “lean into my political hobby,” which lead him to join



                                                 4
         Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 5 of 10




various political organizations. As expressed by Lizak, over time he came to learn what one such

group actually represented:

               The group was not just one of hatred for others but of self-hatred.
               Free-thinking was discouraged, self-improvement was ridiculed and
               ordinary events such as having a job and getting a girlfriend caused
               one’s complete exiling. It was this heinous dehumanization that
               lead many fools like myself to follow the call to attend the rally on
               January 6th.

       Lizak notes that, indeed, there was no premediated plan to enter the Capitol on January 6th.

Rather, the rally began similar to others that he had lawfully attended. However, the event turned

and Lizak, commendably, notes that he realized then that he should not have been where he was.

       Lizak notes that prior to his arrest in this case, he severed all ties with these groups, “In

2021, I found myself unfulfilled, depressed, and guilt ridden, the root cause being my attachment

to an immoral and unsuccessful political organization. My solution was to promptly cut ties and

move on with my life.” He notes that he “double downed” on schoolwork and “stacked his

schedule,” enabling him to graduate a year early. He describes his life today as quite different and,

“good—I have a fulfilling job, a loving family, and supportive friends, I have my firehouse, my

gym, my animals and three weeks from today I will have a beautiful wife.” Concluding, he offers,

“the man who sits before you today is one far removed from the mistakes of the past, and I ask the

Court for leniency.”

       Lizak’s fiancé, Taylor Bandemer offers an insightful testimonial (Exhibit B). She describes

their courtship beginning in 2020 and, noting that she too comes from a divorced family, offers

her view that Jon’s immersion in public policy and political causes at the age of 19 stemmed from

the fact that, “Jon lacked a father figure in his life, I believe he was still seeking something or some

cause to direct him.” She notes of Jon’s maturity since he was 19 years old, and that “since he left

that path, he has refused to miss a single Sunday mass, firefighting training, alone time with his

                                                   5
         Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 6 of 10




younger brother, a date night with me, and a day of work.” She writes of their impending marriage,

and their desire to quickly have a child. Concluding, she advises “Jon will be an amazing father,

as I have already seen him with kids on a day to day basis and they all love him. Our love for each

other is endless and I wouldn’t want to be with anyone else.”

       Lizak’s mother offers a moving testimonial (Exhibit C). She writes of Jon’s “normal”

young childhood which took a turn when he was ten when she and her husband divorced. She

notes that, initially, Jon saw his father regularly but this changed in short order and a long period

of estrangement resulted between Jon and his father. At this time, Jon became the “man of the

house” and father to his little brother. She notes that this lead to an early maturity in Jon who

became the “voice of reason” among his high school friends and Jon ignoring the partying scene

and “choosing a healthy lifestyle.” She writes of her son’s committed relationship of three years

to his fiancé and their impending marriage. She advises of the significant contribution Jon has

made to her longstanding business which has become more profitable resulting from Jon’s hard

work and business management skills. She notes that she anticipates a long future in the business

for Jon, and looks forward to working with him for years to come. Finally, she notes of Jon’s

commitment to the Fire Department and his religious faith. She describes her son as a “good man”

who has learned dearly from his singular mistake as a 19 year old college student. She, of course,

seeks leniency from the Court.

       Finally, Reece Bandemer, the sister of Lizak’s fiancé, offers an insightful testimonial

(Exhibit D). She writes that she met Jon in 2020, when he and her sister began to date. She notes

that she has come to know Jon as an “older brother”. She writes of his “exceptional character”

noting “he continuously shows kindness, understanding and compassion”. She also advises that

Lizak has “played a significant and transformative role in my spiritual journey by introducing me



                                                 6
         Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 7 of 10




to Catholicism. . . through his example I witnessed the importance of prayer, community, and

service to others in living a fulfilling Christian life”. She notes that Lizak’s, “influence has

strengthened my relationship with God”.

       In short, it is respectfully submitted that Jon Lizak’s history and personal characteristics

are of the highest order as he continues to reset his life and build his future, marked by hard work,

community volunteerism, and devotion to his family.

       C.      It is Respectfully Submitted that
               Mr. Lizak Poses No Risk of Recidivism

       While perhaps there are a few certainties in life, it can fairly be said with a high degree of

confidence that Jon Lizak poses no risk of recidivism. As noted, this event occurred when he was

a 19 year old college student without an arrest or disciplinary record of any nature. Entering the

Capitol Building was wrongful, but it was a spontaneous unplanned event during which Lizak did

not engage in violence or the destruction of property in any form.

       In the aftermath of the event, unlike others, Lizak did not post or make incendiary or

inflammatory comments. In fact, as set forth herein, Lizak moved his life in the opposite direction.

Commendably, he accelerated his courseload and graduated a year early, and moved back to his

family home with his mother, sister and younger brother. At the same time and (prior to the

initiation of charges), he joined his local volunteer Fire Department where he actively remains

engaged as a first responder, rededicated himself to his Catholic religion, and embarked on a

fulfilling and promising career path with his mother in co-directing the family’s business. As

noted, he also works side by side with his fiancé as they approach their impending wedding date.

       As attested by all, Jon Lizak is living a fulfilling, laudable and virtuous life as he begins

his next chapter of starting a family.




                                                 7
         Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 8 of 10




       D.      The Need to Avoid Unwarranted Sentencing
               Disparities Among Similarly Situated Defendants

       Of course, 18 U.S.C. §3553(a)(6) instructs that the Court must consider the need to avoid

unwarranted sentencing disparities among similarly situated defendants. This Court is certainly

aware of the widely available Sentencing Table which tracks sentences that have been meted out

by District Court judges to January 6th defendants, and categorizes them by the specific nature of

the offender’s conduct.

       Here, Lizak’s conduct falls squarely into the category of a first arrest, B misdemeanor

“parading case,” involving walking into the Capitol through an open door, without pushing or

violence of any nature and without the destruction of property. The undersigned could readily

provide the Court with a string citation of cases from the Sentencing Table in which District Court

judges have imposed non-incarceratory probation sentences in this category of case. It is presumed

that this Court is already aware of such sentences under similar facts.

       At the same time, Your Honor has already imposed split styled sentences on Messers.

Chase, Carey and Lovley, with each receiving a probation sentence, along with three days

intermittent confinement for Chase, and 14 days intermittent confinement for Carey and Lovely.

But, no two cases are identical and the statute instructs the need to avoid unwarranted sentencing

disparities. On this, it is respectfully submitted that Jon Lizak’s life’s path since his unplanned

entry into the open Capitol Building entryway as a 19 year old college student uniquely

demonstrates his remorse and total separation from the events of that day. Soon after these events,

as set forth above, Lizak began putting in place the building blocks of his future, beginning with




                                                 8
           Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 9 of 10




the acceleration of his courseload which allowed him to graduate from college and move home a

year early. 1

         As set forth in Lizak’s enclosed letter to the Court, soon after these events Lizak began a

“mindset shift that has significantly affected my life over the past few years”. As set forth above,

for Lizak, these are not hollow words, as the trajectory of his life has moved in a completely

different direction.      For him, it was indeed a 180˚ reset, deserving of this Court’s strong

consideration. 2

IV.      CONCLUSION

         As set forth herein, joined by the Probation Department, it is respectfully submitted that a

non-incarceratory probation sentence is appropriate in this matter. Lizak’s enclosed reflective and

remorseful accounting of his act of parading as a 19 year old is deserving of this Court’s strongest

consideration. Moreover, as noted, his words are quite genuine as, following these events and well

before the initiation of charges, Lizak changed the trajectory of his life. His present life is laudable

in every respect, and there is every reason to believe that his future will continue to be characterized

by hard work, volunteerism, and a commitment to his family.




1
  Of course, the undersigned is not privy to the sentencing recommendation made by the Probation Department for the
three related defendants. Here, as noted, the Probation Department has recommended a term of probation without any
incarceration for Lizak.
2
  We are also mindful of the Circuit’s recent decision in United States v. Little, No. 22-3018, (D.C. Circuit, 8/18/23)
which held that a Court cannot impose a sentence of probation and imprisonment for a single petty offense under 18
U.S.C. §3561(a)(3), while at the same time leaving open the issue of whether the Court could impose a probation
sentence along with brief periods of intermittent confinement, pursuant to 18 U.S.C. §3563(b)(10). Here, it is
respectfully submitted that, with or without Little, a term of probation is appropriate.

                                                          9
       Case 1:23-cr-00163-CKK Document 73 Filed 09/25/23 Page 10 of 10




Dated: Garden City, New York
       September 22, 2023

                                         Respectfully submitted,

                                         LAW OFFICE OF KEVIN J. KEATING, P.C.


                                         /s/ Kevin J. Keating
                                         By: Kevin J. Keating, Esq.
                                         Pro Hac Vice Counsel for Defendant, Jon Lizak
                                         666 Old Country Road, Suite 900
                                         Garden City, New York 11530
                                         (516) 222-1099
                                         kevin@kevinkeatinglaw.com



                               CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 22nd day of September 2023, I cased a true and correct
copy of the foregoing Defendant’s Memorandum in Aid of Sentencing to be delivered via
CM/ECF to all parties in this matter.
                                         /s/ Kevin J. Keating




                                            10
